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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    WILLIAM M. STEPHENS,                             )
                                                     )
                Plaintiff,                           ) Case No. 1:18-cv-01546
    v.                                               )
                                                     )
    SELECT PORTFOLIO SERVICING,                      ) Hon. Robert M. Dow, Jr.
    INC.,                                            )
                                                     )
                Defendant.                           )

                              NOTICE OF SERVICE OF
               INITIAL RESPONSES TO MANDATORY INITIAL DISCOVERY

To:      See Service List

         On May 14, 2018, Select Portfolio Servicing Inc. served its initial responses to mandatory
initial discovery by electronic mail to those individuals listed on the attached service list.

                                      SELECT PORTFOLIO SERVICING, INC.

                                      By: /s/ Jason D. Altman_____________________
                                             One of its attorneys

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Kluever & Platt, LLC
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Chicago, Illinois 60601
(312) 236-0077




[SPSL.0457/375048/1]                            1
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                                 CERTIFICATE OF SERVICE

        I, Jason Altman, certify that I electronically filed Select Portfolio Servicing Inc.’s notice
of service of mandatory initial discovery responses with the Clerk of the United States District
Court for the Northern District of Illinois CM/ECF system which will send notification of such
filing(s) to all parties of record through said system.

                                                      /s/ Jason D. Altman
                                                          Jason D. Altman

                                         SERVICE LIST
Rusty A. Payton
Marc E. Dann
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[SPSL.0457/375048/1]                             2
